Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 1 of 17




                   EXHIBIT 1
     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 2 of 17
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1                     UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                         SAN FRANCISCO DIVISION
4
5     ___________________________________
6     WAYMO LLC,                                          )
7                       Plaintiff,                        )
8         vs.                                             ) Case No.
9     UBER TECHNOLOGIES, INC.;                            ) 17-cv-00939-WHA
10    OTTOMOTTO, LLC; OTTO TRUCKING LLC, )
11                     Defendants.                        )
      ___________________________________)
12
13     HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY
14
15        VIDEOTAPED DEPOSITION OF ANGELA L. PADILLA, ESQ.
16                      San Francisco, California
17                         Monday, October, 2017
18                                  Volume I
19
20    Reported by:
21    MARY J. GOFF
22    CSR No. 13427
23    JOB No. 2716665
24
25    PAGES 1-111

                                                                   Page 1

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 3 of 17
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1               MR. GONZALEZ:   No.    That's okay.        You know   10:45:25

2     where I'm going.                                                10:45:26

3          A    Or to put it another way, everything I                10:45:26

4     know on that is privileged.                                     10:45:28

5          Q    (BY MR. PERLSON) Everything you know on               10:45:30

6     that subject --                                                 10:45:31

7          A    Yes.                                                  10:45:32

8          Q    -- is privileged?     Have you personally             10:45:32

9     asked Mr. Levandowski whether he took any Google or             10:46:08

10    Waymo material with him to Uber?                                10:46:15

11              MR. GONZALEZ:   And here I would caution              10:46:21

12    you on the attorney/client privilege.                           10:46:23

13         A    Discussions I had with Anthony on that                10:46:27

14    topic are privileged.                                           10:46:30

15         Q    (BY MR. PERLSON) Did Mr. Levandowski ever             10:46:37

16    refuse to answer any questions by you as to whether             10:46:41

17    he had taken Waymo confidential information and --              10:46:47

18              MR. GONZALEZ:   Objection --                          10:46:56

19         Q    (BY MR. PERLSON) -- used it at Uber?                  10:46:56

20              MR. GONZALEZ:   -- I would instruct you not           10:46:57

21    to answer that unless they were nonprivileged                   10:46:58

22    conversations.                                                  10:47:03

23         A    All discussions on that topic were                    10:47:04

24    privileged.                                                     10:47:06

25         Q    (BY MR. PERLSON) Okay.     Were there any             10:47:06

                                                                      Page 52

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 4 of 17
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1     questions that you asked Mr. Levandowski to answer           10:47:18

2     in relation to this litigation that he refused to            10:47:27

3     answer?                                                      10:47:31

4               MR. GONZALEZ:    I'm going to instruct you         10:47:32

5     not to answer that question.                                 10:47:33

6          Q    (BY MR. PERLSON) Has Mr. Levandowski               10:47:49

7     provided any information to you that was used in             10:47:55

8     connection with Uber's defense of this case?                 10:48:03

9               MR. GONZALEZ:    Same instruction.                 10:48:10

10         A    That would be privileged.                          10:48:13

11         Q    (BY MR. PERLSON) Has Mr. Levandowski ever          10:48:25

12    cooperated in providing information to you that was          10:48:26

13    used in connection with Uber's defense of this case?         10:48:32

14              MR. GONZALEZ:    Same instruction.          Your   10:48:39

15    communications with them and mental impressions are          10:48:40

16    privileged.                                                  10:48:43

17              MR. PERLSON:    And so I can't -- so I --          10:48:50

18    just -- just for the record, any questions that I            10:48:51

19    ask regarding conversations with Mr. Levandowski             10:48:54

20    regarding this case, I'm going to get an                     10:49:01

21    instruction?                                                 10:49:03

22              MR. GONZALEZ:    Pretty much.     Pretty much.     10:49:04

23    I mean, I can't think of -- I -- if -- if there's            10:49:06

24    some instruction -- if there's some conversation             10:49:09

25    that I'm not aware of that's not privileged, but             10:49:11

                                                                   Page 53

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 5 of 17
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1     I -- I doubt it --                                         10:49:15

2               MR. PERLSON:     Okay.                           10:49:16

3               MR. GONZALEZ:     -- either by a joint           10:49:16

4     interest, by work-product, by attorney/client, or          10:49:17

5     all of the above.                                          10:49:18

6          Q    (BY MR. PERLSON) Are you aware of any            10:49:21

7     conversations that you have had with Mr. Levandowski       10:49:22

8     that are not privileged?                                   10:49:26

9          A    Not generally.     But I do know that there      10:49:36

10    was that one night when we talked about the bonus.         10:49:43

11         Q    Separate and apart from -- from that             10:49:50

12    discussion, are you -- can you, sitting here today,        10:49:52

13    think of any discussions with Mr. Levandowski that         10:49:55

14    you -- you had with him that were not privileged?          10:50:00

15         A    No, I really can't.                              10:50:02

16         Q    Are you aware that Mr. Levandowski               10:50:21

17    provided search terms to assist Uber in looking for        10:50:21

18    documents in responding to paragraph 4 of the              10:50:30

19    March 16th order?                                          10:50:39

20              MR. GONZALEZ:     And I don't recall frankly     10:50:43

21    whether that's in the public filing.        But if you     10:50:44

22    know that information from a nonprivileged source,         10:50:47

23    you can answer.                                            10:50:51

24         A    I -- truly, everything about complying           10:50:52

25    with this order, Exhibit 8104, truly, it would all         10:50:56

                                                                  Page 54

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 6 of 17
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1     be privileged, everything I know.                          10:51:01

2          Q    (BY MR. PERLSON) So if you didn't -- if          10:51:08

3     you did know that, you would consider that to be           10:51:09

4     privileged?                                                10:51:12

5          A    I would.                                         10:51:13

6               (Exhibit 8105 was marked for                     10:52:38

7     identification and is attached to the transcript.)         10:52:38

8          A    Thank you.                                       10:52:41

9               MR. PERLSON:     What number?                    10:52:41

10              THE COURT REPORTER:      8105.                   10:52:49

11         Q    (BY MR. PERLSON) You have been handed            10:52:51

12    what's been marked as Exhibit 8105, UBER65191.             10:52:53

13         A    A two-sided --                                   10:53:06

14         Q    Yeah.                                            10:53:08

15         A    -- the same document?                            10:53:08

16         Q    Just ignore the second --                        10:53:09

17         A    Okay.                                            10:53:12

18         Q    -- side.     I don't know why that's there.      10:53:12

19    The -- do you see that this is a -- a calendar             10:53:20

20    invite for a meeting on Feb -- March 3, 2017, that         10:53:23

21    you were invited to.                                       10:53:33

22              Do you see that?                                 10:53:34

23         A    I see this.                                      10:53:35

24         Q    Okay.   And it looks like the subject            10:53:36

25    matter was "Judge Alsup's order, 10 questions."            10:53:37

                                                                  Page 55

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 7 of 17
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1               Do you see that?                                 10:53:40

2          A    I do.                                            10:53:40

3          Q    Okay.   Did you participate in this call?        10:53:41

4          A    I likely did.   But sitting here right now,      10:53:46

5     I can't -- I don't remember it clearly.                    10:53:51

6          Q    Okay.   And you see a -- to the left of          10:53:54

7     your name, there's "robot@Uber.com"?                       10:53:58

8          A    I see that.                                      10:54:03

9          Q    Is that Mr. Levandowski?                         10:54:04

10         A    Yeah, that should be.                            10:54:06

11         Q    Okay.   And were there any questions that        10:54:11

12    were asked of Mr. Levandowski on this call that he         10:54:20

13    refused to provide answers to?                             10:54:25

14              MR. GONZALEZ:   I'm going to instruct you        10:54:28

15    not to answer any questions about the content of           10:54:28

16    this telephone call, which is privileged.                  10:54:29

17         Q    (BY MR. PERLSON) Which you'll follow?            10:54:32

18         A    Yes.                                             10:54:34

19         Q    And did Mr. Levandowski cooperate with           10:54:34

20    Uber in addressing Judge Alsup's order on this call?       10:54:40

21              MR. GONZALEZ:   Same instruction.                10:54:48

22         Q    (BY MR. PERLSON) And has Mr. Levandowski         10:54:48

23    provided information to Uber regarding the nature of       10:55:16

24    the technology that Waymo contends is                      10:55:20

25    misappropriated in this case?                              10:55:23

                                                                  Page 56

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 8 of 17
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1                  MR. GONZALEZ:     Same instruction.          If you   10:55:26

2     have nonprivileged information, you can share that.                10:55:27

3           A      Has Mr. Levandowski provided technology?              10:55:32

4     No.   Could you say it again?                                      10:55:35

5           Q      (BY MR. PERLSON) Sure.       Has                      10:55:37

6     Mr. Levandowski provided information to Uber                       10:55:38

7     regarding the nature of the technology that Waymo                  10:55:40

8     contends is misappropriated in this case?                          10:55:45

9           A      So the only way I would have that would be            10:55:47

10    through privileged conversations.                                  10:55:50

11          Q      Has Mr. Levandowski provided Uber with                10:55:57

12    information that it has used to identify relevant                  10:56:02

13    witnesses in this case?                                            10:56:09

14                 MR. GONZALEZ:     I instruct you not to               10:56:11

15    answer that question.        Privilege, work-product.              10:56:12

16          Q      (BY MR. PERLSON) Has Mr. Levandowski                  10:56:16

17    provided Uber with information that it has used in                 10:56:18

18    connection with depositions that it has taken in                   10:56:30

19    this case?                                                         10:56:34

20                 MR. GONZALEZ:     Same instruction.          Unless   10:56:35

21    you have nonprivileged information, I would instruct               10:56:36

22    you not to answer.                                                 10:56:39

23          Q      (BY MR. PERLSON) What materials has                   10:56:41

24    Mr. Levandowski refused to provide to Uber that Uber               10:56:44

25    asked him to provide in connection with this                       10:56:51

                                                                         Page 57

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 9 of 17
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1     litigation?                                                10:56:54

2                 MR. GONZALEZ:    So I'll -- I'll let you       10:56:57

3     answer the part of that question that involves his         10:56:59

4     computers, because I believe a document has been           10:57:01

5     produced on that point.                                    10:57:05

6             A   So he did not cooperate in providing all       10:57:14

7     of the devices that he had at the time that we were        10:57:21

8     in this litigation.      And I sent him a letter --        10:57:28

9     well, really an e-mail -- an e-mail letter about           10:57:34

10    that.                                                      10:57:37

11                (Exhibit 8106 was marked for                   10:57:42

12    identification and is attached to the transcript.)         10:57:42

13                MR. GONZALEZ:    Thank you.                    10:58:33

14            Q   (BY MR. PERLSON) You have been handed          10:58:43

15    what's been marked as Exhibit 8106, UBER324612.            10:58:44

16                Do you recognize this e-mail?                  10:58:52

17            A   I do.                                          10:58:55

18            Q   Is this the e-mail that you were just          10:58:56

19    referring to in your testimony?                            10:58:58

20            A   It is.                                         10:59:01

21            Q   Okay.    So in the first sentence, it says,    10:59:01

22    I understand that there are two laptops in your            10:59:07

23    possession that you have used for Uber work that           10:59:10

24    have not yet been provided to us for inspection in         10:59:14

25    the Waymo litigation.                                      10:59:18

                                                                  Page 58

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 10 of 17
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1               Do you see that?                                  10:59:20

2          A    Um-hum.                                           10:59:21

3          Q    Yes?                                              10:59:22

4          A    Yes.                                              10:59:22

5          Q    Okay.     And what -- what -- do you know         10:59:22

6     what those computers were?                                  10:59:28

7          A    I don't remember the specifics right now.         10:59:33

8     I remember just a dispute about whether they were           10:59:43

9     company computers or personal computers and whether         10:59:49

10    they were used for Uber work or not.                        10:59:51

11         Q    Okay.     And who -- that was a dispute           10:59:56

12    between Anthony -- or Mr. Levandowski and Uber?             11:00:03

13         A    Yes.                                              11:00:05

14         Q    Okay.     Were -- was that dispute something      11:00:05

15    that was discussed orally or were there other               11:00:13

16    e-mails concerning that dispute?       Do you know?         11:00:19

17         A    I think it was all oral.                          11:00:21

18         Q    And when did -- obviously, I assume that          11:00:25

19    they -- when did those discussions occur?                   11:00:28

20         A    Probably right around the time of this            11:00:34

21    e-mail, which is April 20.     Maybe a little before        11:00:37

22    and probably a little after as well.        I -- I think    11:00:44

23    it was an ongoing struggle.                                 11:00:47

24         Q    And who -- who was involved in those              11:00:50

25    conversations?                                              11:00:59

                                                                  Page 59

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 11 of 17
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1          A      Let's see.      Myself; Anthony; his lawyers,       11:01:01

2     Miles and Izzy -- Miles or Izzy and/or meaning these            11:01:11

3     people in various combinations in various                       11:01:21

4     conversations.       It wasn't a static one-time event.         11:01:25

5                 Travis; Neal Chatterjee, once he came on            11:01:33

6     board.    Gosh, I'm trying to think.        Possibly Salle.     11:01:42

7     Possibly Salle.        Possibly Walter and Melinda over at      11:01:58

8     Orrick.    No.   No.     No, not them.    I'm sorry.      I'm   11:02:03

9     thinking of something else.        I'm thinking of Travis.      11:02:06

10    No, not them.       Just possibly Salle, yeah.                  11:02:09

11         Q      Please tell me what you remember regarding          11:02:16

12    the substance of those communications.                          11:02:19

13         A      I don't remember details, but the --                11:02:25

14                MR. GONZALEZ:      I'm sorry.     Can I interrupt   11:02:27

15    just to make this clear?        To the extent you had           11:02:28

16    conversations with attorneys for Mr. Levandowski,               11:02:31

17    I'm going to let you answer that.                               11:02:33

18                But if you had private conversations with           11:02:35

19    your client, Salle, Travis, or anybody else, that               11:02:37

20    would be privileged.        So I want to make sure you          11:02:41

21    draw that distinction in your head as you answer                11:02:43

22    that question.                                                  11:02:46

23         A      Okay.      So if I limit it to conversations        11:02:47

24    that I had with Anthony's lawyers, because all the              11:02:51

25    other conversations would have been with Salle or               11:02:56

                                                                      Page 60

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 12 of 17
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1     Travis or Anthony, or -- or with Neal Chatterjee.              11:02:58

2     Was it Neal?   I -- I don't know.      It could --             11:03:04

3          Q    (BY MR. PERLSON) That's his name.                    11:03:07

4          A    -- be mistaken.     I know -- I mean, I know         11:03:07

5     Neal really well.     I just -- I can't remember if --         11:03:08

6     I might be mistaken about Neal.       But anyway, I feel       11:03:10

7     like I had some conversation with Neal.                        11:03:17

8               But what I recall about the conversations            11:03:19

9     with Miles and Izzy and probably with Neal is my               11:03:21

10    insistence that Anthony turn over every device to              11:03:27

11    Uber for us to search and comply with the court's              11:03:33

12    order, period, end of story, and there was to be no            11:03:37

13    debate about this.                                             11:03:46

14         Q    And so how many conversations do you think           11:03:56

15    you had with yourself on that -- that -- on the                11:03:58

16    subject that Mr. Levandowski's lawyers would have              11:04:06

17    been involved in?                                              11:04:10

18         A    Several.     Maybe as many as five.                  11:04:12

19         Q    Okay.     And that would have been at or             11:04:16

20    around this April 20 --                                        11:04:19

21         A    I can't --                                           11:04:21

22         Q    -- time frame?                                       11:04:21

23         A    -- I can't put it exactly in time.           There   11:04:22

24    was, as you know, a lot going on.       But within a           11:04:23

25    couple of weeks of this time period, yeah, I would             11:04:31

                                                                     Page 61

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 13 of 17
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1     say so.                                                       11:04:34

2          Q    Did you have any conversations with                 11:04:57

3     Mr. Levandowski regarding obtaining his devices that          11:04:59

4     did not include his counsel?                                  11:05:08

5          A    I might have.                                       11:05:12

6          Q    Okay.   When would that have been?                  11:05:14

7          A    Same time period.                                   11:05:19

8          Q    Okay.   Can you identify -- let me know the         11:05:20

9     substance of -- of that communication?                        11:05:26

10              MR. GONZALEZ:    So -- so hold on.          Would   11:05:29

11    you agree that we're not waiving privilege by                 11:05:31

12    allowing her to answer that question?                         11:05:33

13              MR. PERLSON:    Nope.                               11:05:34

14              MR. GONZALEZ:    Okay.   Then I'm going to          11:05:35

15    have to instruct you not to answer.                           11:05:37

16         A    Okay.                                               11:05:38

17         Q    (BY MR. PERLSON) Did you ever have any              11:05:50

18    instructions with Mr. -- start over again.                    11:05:51

19              Did you ever have any conversations with            11:05:55

20    Mr. Levandowski in which he did agree to produce at           11:05:57

21    least some of his devices?                                    11:06:02

22         A    Yes.                                                11:06:07

23         Q    Okay.   When was that?                              11:06:09

24         A    The same time frame.     I -- I don't               11:06:13

25    clearly -- really, I don't clearly remember it,               11:06:16

                                                                    Page 62

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 14 of 17
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1     because there were hundreds of things happening at             11:06:19

2     this time.       I'm -- I was also running the                 11:06:22

3                 and just everything was going on.                  11:06:25

4                    So I don't know if that was, like, right        11:06:32

5     after the lawsuit was filed, two weeks after the               11:06:34

6     lawsuit was filed, or -- and now we're in April.               11:06:36

7                    But I do know -- I do remember insisting        11:06:39

8     pretty sharply that he turn over things and that he            11:06:46

9     did cooperate to some extent.                                  11:06:50

10            Q      Okay.   He -- he -- you do remember that        11:06:52

11    Mr. Levandowski at least did cooperate to some                 11:06:57

12    extent in turning over devices; is that fair?                  11:07:01

13            A      I don't know if "cooperate" is the right        11:07:05

14    word.       He certainly gave us some devices to search.       11:07:05

15            Q      Some of his devices?                            11:07:08

16            A      Yes.                                            11:07:09

17            Q      Did you ever get the two laptop computers       11:07:13

18    that are referred to in your April 20, 2017 e-mail?            11:07:15

19            A      I am not sure that we got them, but I           11:07:30

20    believe they were searched by another law firm.                11:07:32

21            Q      Okay.   Do you know what law firm that was?     11:07:37

22            A      I don't.                                        11:07:44

23            Q      Was it Mr. Levandowski's counsel?               11:07:45

24            A      It could have been Miles and Izzy.         It   11:07:50

25    could have been Neal.        I don't know.                     11:07:53

                                                                     Page 63

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 15 of 17
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1            Q       Okay.   And how -- and why do you -- what's    11:07:55

2     the basis of you thinking that they were eventually           11:08:07

3     searched by somebody?                                         11:08:09

4            A       Because this was megillah.      Do you know    11:08:12

5     what a megillah is?        It's Yiddish for long story.       11:08:19

6     This megillah went on for a long time, because I was          11:08:23

7     not going to let go of these two computers.                   11:08:28

8                    And I insisted that we get information off     11:08:31

9     of them, and they were insisting they weren't going           11:08:34

10    to give us the computers.                                     11:08:39

11                   And so I believe that finally some kind of     11:08:40

12    a comprise was reached after a back and forth and             11:08:43

13    back and forth that some trusted third person would           11:08:46

14    review the document -- the computers.           And if        11:08:52

15    anything responsive in this litigation was found on           11:08:54

16    them, that would be provided.                                 11:08:57

17           Q       Okay.   Do you know when -- when that          11:09:00

18    accommodation was eventually reached?                         11:09:04

19           A       It would have been after this e-mail went      11:09:09

20    out.       I just don't know when.                            11:09:11

21           Q       Okay.   And was that accommodation             11:09:13

22    memorialized in some way?                                     11:09:16

23           A       I don't -- I doubt it.     I don't remember.   11:09:21

24           Q       Okay.   If -- if -- how could I figure out     11:09:26

25    what -- who -- what would you think the best source           11:09:29

                                                                    Page 64

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 16 of 17
              HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY

1     would be for me to figure out who actually did                   11:09:31

2     the -- did look at those pursuant to this                        11:09:34

3     accommodation?                                                   11:09:38

4             A      Miles, Izzy, Neal.                                11:09:42

5             Q      And do you know whether responsive                11:09:46

6     material was found?                                              11:09:48

7             A      I believe -- I don't -- I don't know one          11:09:49

8     way or the other.          I can't remember.     It could have   11:09:51

9     been.       It could not have been.      I just don't recall     11:09:53

10    it.                                                              11:09:56

11            Q      Okay.     And just to clear up the record --      11:09:56

12    I -- I think it's already clear.            But it -- it --      11:09:57

13    Mr. Levandowski did provide at least some of his                 11:10:01

14    devices to Uber in connection with its efforts to                11:10:05

15    provide responsive information in this litigation,               11:10:10

16    correct?                                                         11:10:13

17            A      He did.     I just wish he would have             11:10:14

18    provided everything from the get-go and given full               11:10:17

19    bona fide cooperation, which he did not do.                      11:10:21

20            Q      In the second-to-last paragraph of the --         11:11:48

21    your e-mail, it says that, Please understand that                11:11:53

22    your compliance with this request is crucial to                  11:11:57

23    Uber's defense of the Waymo litigation and required              11:12:00

24    by our internal company policies.                                11:12:04

25                   Do you see that?                                  11:12:07

                                                                       Page 65

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     Case 3:17-cv-00939-WHA Document 2041-5 Filed 10/23/17 Page 17 of 17
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1                 MR. GONZALEZ:    I think I'm going to           01:28:45

2     instruct you not to answer that question unless you         01:28:46

3     have nonprivileged information.                             01:28:48

4             A   Everything I have is privileged.                01:28:54

5             Q   (BY MR. PERLSON) Did you agree with the         01:28:57

6     decision to terminate Mr. Levandowski?                      01:28:58

7                 MR. GONZALEZ:    I'll instruct you not to       01:29:01

8     answer, unless you agree it's not a waiver.                 01:29:01

9                 MR. PERLSON:    No.                             01:29:04

10                MR. GONZALEZ:    In that case, I'll instruct    01:29:06

11    her not to answer.                                          01:29:08

12            Q   (BY MR. PERLSON) Do you know why Uber           01:29:13

13    didn't fire Mr. Levandowski earlier than May 26,            01:29:14

14    2017?                                                       01:29:17

15                MR. GONZALEZ:    I instruct you not to          01:29:19

16    answer that question, unless you have nonprivileged         01:29:20

17    information.                                                01:29:22

18            Q   (BY MR. PERLSON) Was it -- was -- before        01:29:27

19    Mr. Levandowski was fired on May 26, 2017, did              01:29:34

20    Mr. Kalanick resist firing Anthony Levandowksi?             01:29:39

21                MR. GONZALEZ:    I'm going to instruct you      01:29:42

22    not to answer.                                              01:29:43

23            Q   (BY MR. PERLSON) Do you have any                01:30:01

24    nonprivileged information regarding whether Waymo           01:30:02

25    has -- whether -- let me start over again.                  01:30:06

                                                                 Page 106

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